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UNITED STATES BANKRUP'I`CY COUR'I`

MIDDLE DISTRlCT OF LOUISIANA

 

 

ln Re: )
Case No. 18-10677

Philip Guidry )
Debbie Guidry )

)

)
Debtors

CHAPTER 7 TRUSTEE’S APPLICATION 'I`O RETAIN
BK GLOBAL REAL ESTATE SERVICES
TO PROCURE CONSENTED PUBLIC SALE PURSUAN'I` TO l l U.S.C. 8 327
COMES NOW the Chapter 7 Trustee, Martin Schott, and pursuant to ll U.S.C. § 327, states as

follows:

l.

Martin Schott, is the duly qualified and acting Chapter 7 Trustee of the bankruptcy estate of
Philip Guidry & Debbie Guidry.

An asset of the bankruptcy estate is real property located at 24006 BAIST ST
PLAQUEMINE, LA 70764, and which is legally described as follows:

Parcel Number: 0210211550

Census Tract: 220479531.01 1046

Carrier Route: COOI

Abbreviated Description: DIST: WARD W 2 SUBD:LABAUVE ADDN-A015
SEC/TWN/RNG/MER:SEC l5 TWN 09 RNG l?. N 50' LOTS 1,2, & 3 SQ. 4 LABAUVE
ADDN, FRT. BAIST ST. SEC.lS, T9SR12E CB 474 E 77

hereinafter referred to as the “Real Property”.

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3. The Debtors have declared the Real Property as exempt.

4. The Debtors listed the Real Property on their schedules as having a value of $l 70,000.00

5. The Real Property is subject to the following mortgage(s) or lien(s):

a. First Mortgage Holder: Shel|point Mortgage
b. Second Mortgage Holder: Plaquemine Bank Trust

6. The creditors holding mortgages or liens have filed proofs of claims setting forth the

following balances due and owing on the Real Property:
a. Shel|point in an amount exceeding $105,000.00
b. Plaquemine Bank Trust in an amount exceeding $214,443.78

7. Based upon the market value of the Real Property provided by the Debtors and the Proof of
Claim [or schedules], of the Debtors, the total mortgage debt is in excess of the market value
of the Real Propeny.

8. The Handbook for Chapter 7 Trustees published by the Executive Of`fice of the United States
Trustee, states on pages 4 - 14 under Section 9 “Sales of Assets” (a) General Standards “A
trustee may sell assets only if the sale will result in a meaningful distribution to creditors.
The Section further states “the trustee may seek a “carve-out” from a secured creditor and sell
the property at issue if the “carve-out” will result in a meaningful distribution to creditors.
Further, the Section states “'I`he trustee must also consider whether the cost of administration
or tax consequences of any sale would significantly erode or exhaust the estate’s equity
interest in the asset.”

9. BK Global Real Estate Services (“BK G|obal”) provides services to trustees as BK Global

has expertise and experience in assisting the trustee in negotiating with secured creditors to

accomplish the following:

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a. Sel| the Real Property under ll U.S.C. § 363(b) to whichever party the Chapter 7
Trustee determines to have made the best qualified offer with the sale approved by
the Court, pursuant to l l U.S.C. § 363;

b. Obtain the release the all mortgages and waive all of mortgage claims against the
estate with respect to the Real Property (including any deficiency claims resulting
from the proposed sa|e);

c. Work with the secured mortgage holders to enter into an agreement for an ll U.S.C.
§ 506 surcharge to pay all of the closing expenses associated with the § 363 sale,
including the payment of a six percent (6%) real estate brokerage commission and
reimbursement of their out-of-pocket expenses to BK Globa| and any associated real
estate professional, paid from the proceeds of the sale, and provide a meaningliil
carve out for the benefit of allowed unsecured creditors of the Debtors’ estate; and

d. Make certain the amount of` the carve out is clearly set out in the motion to sell the

Real Property pursuant to ll U.S.C. § 363.

10. BK Global will assist the Chapter 7 trustee in negotiations with all mortgage holders to

ll.

12.

obtain the consent of all mortgage holders for the sale of the Real Property. A carve out from
the sale proceeds of` the Real Property for the payment of a six percent (6%) real estate
commission to BK Globa| and any associated real estate professional, and a carve out from
the sale proceeds, such amount for the benefit of unsecured creditors of` the bankruptcy estate,
which will result in a meaningful distribution to the creditors, and upon a successful
resolution with the secured creditors, a separate motion will be filed seeking approval of the
settlement terms and conditions.

BK Global will not be entitled to any fees if the mortgage holders do not grant their consent
or the Court does not grant the motion to approve the sale of the Real Property.
ln no event will the bankruptcy estate have any obligation to pay BK G|oba| or associated

real estate professional for their services, or to pay the customary title and closing services.

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The terms of the listing agreement and this Application provide that BK Global and listing
agent are only entitled to payment if and when (a) secured creditors grant their consent, (b)
the motion to approve sale is granted and (c) the Real Property is sold, in which event BK
Global and listing agent will receive a six percent (6%) real estate brokerage commission and
obtain reimbursement of any out-of-pocket expenses.

13. The Trustee believes that the highest and best value for the Real Property will be generated
through a sale in which the Real Property is widely marketed to the public and offered at the
highest price that the market will bear. The Trustee further believes that such a sale is in the
best interest of the Debtors’ bankruptcy estate, but can only be achieved if all secured
creditors’ consent is first obtained. The Chapter 7 trustee believes that retaining BK Global
and/or an associated real estate professional to obtain the secured creditors’ consent is in the
best interest of the Debtors’ bankruptcy estate.

l4. The Trustee submits that the terms of employment and compensation as set out in this
application and the listing agreement (Exhibit “A”), are reasonable in light of` the extensive
experience of BK Global and any associated real estate professional, and the nature of the
services they provide.

15. BK Global attested that it is a disinterested person within the meaning of Section 101(14) of
the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014 and 2016(a). Attached
hereto as Exhibit “B” is an Affidavit of Disinterestedness of BK Global. BK Global also
attests, pursuant to Bankruptcy Rule 2016, that it shall not split or share its fee with any

individual or entity other than listing agent or a buyer’s agent, if applicable.

WHEREFORE, based upon the foregoing, the Chapter 7 trustee seeks the Court’s authority to

retain BK Global in this case and requests that the Court approve the compensation arrangements set forth

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in the listing agreement and this application, pursuant to Sections 327, 328(a) and 330 of the

Bankruptcy Code; and for such other and further relief as the Court determines is appropriate.

DATED:
RESPECTFULLY SUBMITTED:

 

(/ t/
MARTIN A. SCHOTT, TRUSTEE (l 1822)

7922 Wrenwood Boulevard, Suite B
Baton Rouge, Louisiana 70809
(225) 928-9292 Office

(225) 924-2469 Facsimile

usbc@schott|awfirm.com

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EXHIB[T A

BK Global Real Estate Brokerage Listing Agreement

This Real Estate Brokerage Listing Agreement (“Agreement”) is between
Martin Schott (“TRUSTEE”) and BK Global Real Estate Services LLC (“BROKER”)
Authority to Sell Property: Trustee gives Broker the right to be the EXCLUSIVE BROKER in

the sale of the real and personal property (collectively “Property”) described below:

24006 BAIST ST PLAQUEMINE, LA 70764

Upon full execution of a contract for sale and purchase of the Property and court approval, all

rights and obligations of this Agreement will automatically extend through the date of the actual closing
of the sales contract. Trustee and Broker acknowledge that this Agreement does not guarantee a sale,
This Property will be offered to any person without regard to race, color, religion, sex, handicap, familial
status, national origin, or any other factor protected by federal, state, or local law. Trustee certifies and
represents that she/he/it is legally entitled to convey the Property and all improvements

Price: The starting listing price of the property will be: $ . lf there are no

acceptable offers after 15 days, the list price will be reduced 5% and will reoccur every 15 days until the
listing expires or if an acceptable offer is received.

Brokers Obligations: Broker will assist the Trustee to make commercially reasonable efforts to

procure the consent and agreement of all mortgage holders (“Secured Creditors”) to:

a)

b)

Sell the Property under ll U.S.C. § 363(b) to whichever third party you determine to have made
the best qualified offer during a public sale approved by the court or agree to l l U.S.C. § 363(k)
and place a credit bid on the Property from the estate;

Release all liens with respect to the Property; and

Agree to a ll U.S.C. § 506 surcharge to (x) pay our fee and expenses, any commission payable to
the local real estate broker and all other fees and expenses associated with the sale, and
(y) provide a carve-out for the benefit of` allowed unsecured creditors of the estate.

Brokers Duties: Broker duties will include but will not be limited to the following services;
Researching the real estate, running title and lien searches to identify creditors for resolution and
any title issues.

Advising the trustee of any issues and discuss potential resolutions.

Conducting the resolutions under the trustee’s direction.

Assisting the trustee in the collection of documents and information for employment.

Making and identifying the correct contact with the secured creditors.

Notifying the secured creditor of the upcoming sale and identifying servicer requirements

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0 Assisting the trustee in establishing market value and negotiating with the Servicer an acceptable
sales price and establishing a carve-out.

0 Development of online marketing, email campaign and full nationwide marketing services.

¢ Conducting an online sale.

0 Use of the BK Global technology platform.

0 Assist the trustee in the review of all offers and coordinate the final documentation of the offer
accepted by the trustee.

0 Managing contract requirements such as inspections, appraisals and HOA applications.

0 Coordinating closings and assisting the trustee in the collection of required information for court
filing.

¢ Closing the transaction and ensure the estate has received the appropriate funds.

Local Listing Brokers Obligations: Broker will select a Local Listing Broker to co-|ist the
property and provide limited services. Trustee will retain both Broker and the Local Listing Broker to
market the Property for sale to the public under a separate listing agreement.

Local Listing Brokers Duties: Local Listing Brokers duties will include but will not be limited
to the following services;

¢ Inspecting the property and completing a broker’s price opinion.
¢ Listing the property in the multiple listing service (MLS).
¢ Posting a for sale sign in the yard and coordinating showings.

Trustee Obligations: ln consideration of Broker’s obligations, Trustee agrees to:

a) Cooperate with Broker in carrying out the purpose of this Agreement

b) Provide Broker with keys to the Property and make the Property available for Broker to show
during reasonable times.

c) File all court motions and documents in a timely manner to ensure a successful sale.

d) Advise Broker of any special issues our court requirements.

Compensation: 6% Real Estate Commission will be paid out of the proceeds off the sale and is
due and paid at closing. The commission will cover the costs of the Broker, Local Listing Broker and
Buyers Broker. The commission will be paid as follows:

o 2% Broker
0 2% Local Listing Broker
0 2% Buyers Broker

Term of Agreement: The term of this Agreement will commence when signed by the Trustee
and the court approves it. This Agreement will automatically terminate upon the closing of the sale of the
Property, or it may be terminated by either party for any or no reason after 180 days from
commencement. In addition, this Agreement will be terminated if the Trustee files a Report of No
Distribution, files a Notice of Abandonment of the subject property, or submits a Trustee’s Final Report
to the Office of the United States Trustee.

Broker acknowledges and agrees that (a) the Trustee is not executing this Agreement in an
individual capacity, but solely as trustee of the estate, (b) Broker does not and will not have any right or

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claim with respect to the estate and (c) Brokers sole recourse for payment of real estate commission, fees
and expenses will be paid at closing with court approval and under the Consent of the Secured.

This Agreement constitutes our complete agreement on this matter and supersedes all prior
agreements and representations concerning the same. lt may not be modified or amended except in a
writing signed by both parties.

The effective date of this agreement is Q€é @M r,/`@ l §

BROKER:

By: § Acknowledged and agreed as of the date set forth above.

Patrick But|er, Broker-in-Charge

 

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1 _ _ y 7 /_L_Kc‘k'lic_)'wledged and agreed as of the date set forth above.
Martin S ott, not individually but solely as Tr'tee in the referenced matter.

  

 

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EXH|B|T

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF LA - Middle

..................................................................

ln re: : Chapter 7

Case No. 18-10677

Debtor
Philip Guidry
Debbie Guidry

..................................................................

DECLARATlON OF PATRICK BUTLER IN SUPPORT OF APPLICATION
TO RETAIN BK GLOBAL REAL ESTATE SERVICES AND DONALD J'ULIEN &
ASSOCIATES BR TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO ll U.S.C.

§ 327, 328 AND 330

The undersigned, Patrick Butler (“Declarant”) hereby states:

l. l am employed by BK Global Real Estate Services (“Applicant” or
“B_KR§”), which is an entity duly licensed as a real estate brokerage by the State of Florida
located at 1095 Broken Sound Parkway, N.W., Suite 100, Boca Raton, FL 33487. I arn
Applicant’s broker-in-charge and am authorized by Applicant to submit this Declaration on
Applicant’s behalf in support of the annexed Application to Retain BKRES and in accordance
with Bankruptcy Rule 2014.

2. Based upon the information discussed below, l believe that Applicant is a
disinterested person and does not hold or represent any interest adverse to the interest of` the
Debtor’s estate as that term is defined in Section 101(14) of the Bankruptcy Code.

3. To the best of my knowledge: (a) neither BKRES nor any of its
employees has any connection with the Debtor, its creditors in this case, the Chapter 7 Trustee,
the Oche of the United States Trustee, or any employees thereof or any party in interest herein;

(b) BKRES and each of its employees are “disinterested persons,” as that term is defined in

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4. A description of the qualifications of, and services provided by, BKRES is
attached as Schedule 1.

5. That I have read the application of the Trustee regarding the retention and
compensation of BKRES and agreed to be bound by the terms and conditions represented therein.

6. That I further understand that the Court, in its discretion, may alter the terms

and conditions of employment and compensation, as it deems appropriate.

Verified under penalty of perjury that the foregoing is true and correct this /:§ day of

october, 2018. M/

Patrick Butler
Broker~in-Charge

The foregoing instrument was sworn to and subscribed before me this \5“` day of October, 2018,

by Patrick Butler who provided identification or is personally known to me and who did take an
oath.

NOTAR:’£I:ZC %a`;%"

Notary Public, State ofFlorida

My Commission Expires

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SCHEDULE l

Bl< Global Real Estate Services is a licensed real estate brokerage by the State

of Florida, located at 1095 Broken Sound Parkway N.W., Suite 100, Boca Raton,
Florida, 33487.

BK Global Real Estate Services has a strong background and extensive
experience in dealing with the mortgage servicing industry and is considered an expert
in assisting in the negotiations with secured creditors whose debt is in excess of the
market value of the real property and in negotiating short sales.

BK Global Real Estate Services has been providing real estate services to
Chapter 7 bankruptcy trustees since 2014.

BK Global Real Estate Services has developed a process to assist Chapter 7
trustees in the sale of over-encumbered real estate to obtain the consent of the secured
creditor to allow the Chapter 7 trustee to sell the real property and to assist the Chapter

7 trustee in negotiating a carve out for the bankruptcy estate that will provide a
meaningful distribution to the unsecured creditors..

BK Global Real Estate Services is to be retained by the Chapter 7 trustee
pursuant to 11 U.S.C. § 327, The first step is for BK Global Real Estate Services to
assist the Chapter 7 trustee in obtaining the consent of the secured creditor to allow the
Chapter 7 trustee to sell the secured real estate. Those negotiations will include

establishing a carve-out of the sale proceeds to the bankruptcy estate that will provide a
meaningful distribution to unsecured creditors.

ln addition, a carve out will be established to pay a real estate commission to BK
Global Real Estate Services and a local real estate licensed broker. ln addition, as part

of the negotiations. the secured creditor will be required to waive the filing of any
deficiency claim.

Once the Court has approved the retention of BK Global Real Estate Services
and the local real estate licensed broker, then the real property will be listed for sale at
an agreed listing price by the secured creditor.

A motion will be filed to approve the settlement and compromise reached
between the Chapter 7 trustee and the secured creditor.

BK Global Real Estate Services has successfully assisted Chapter 7 trustees in
33 court districts in the consented program. BK Global Real Estate Services does this
by achieving the highest sale prices for properties as opposed to the more common
“discounted sale” often presented to secured creditors by less experienced service
providers. The transaction is never consummated unless the carve-out percentage or

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fee is sufficient to provide a meaningful distribution to unsecured creditors, BK Global
Real Estate Services has standards in the mortgage industry whereby all parties can
have a mutually benencial outcome to the sale, The sale of over-encumbered real
estate in bankruptcy presents a superior outcome to all parties.

' Unsecured creditors achieve a meaningful distribution on many more
bankruptcy cases than they do on ‘no asset’ cases;

- The Chapter 7 trustee is able to conduct these transactions in a very cost-

effective manner substantiating the carve-out amounts generated in these
sales; and

* Secured creditors achieve more favorable recovery than they would via
foreclosure including minimized compliance risk.

Page 4-2 of the l-landbook for Chapter 7 Trustee states that by virtue of 11
U.S.C. § 323(a) the trustee is a representative of the estate. Further, the handbook
states, “The trustee is a fiduciary charged with protecting the interest of all estate
benefciaries - namely, all classes of creditors, including those holding secured,
administrativel priority and non-priority unsecured claims. as well as the debtor’s
interest in exemptions and in any possible surplus property."

BK Global Real Estate Services is a licensed Real Estate Broker and acts in the
capacity as a licensed agent/broker. As a member of the real estate professional
association, BK Global Real Estate Services is permitted to work with local brokers and
share fees for work conducted Section 504(b) of the Bankruptcy Code permits the
compensation BK Global Real Estate Services receives for work conducted on a case,

BK Global Real Estate Services has developed a nationwide network of licensed
real estate brokers that are trained in the sale of over-encumbered real estate in
bankruptcy. BK Global Real Estate Services co-lists the real estate with one of our local
trained licensed brokers The trustee hires both BK Global Real Estate Services and
the local broker to perform the required services. The listing commission is split
between BK Global Real Estate Services and the local broker.

For these fees, both BK Global Real Estate Services and the local broker share
in the duties that are required to conduct a consented sale in bankruptcy.

BK Global Real Estate Services’ services include, but are not limited to, the
following:

’ Researching the real estate, running title and lien searches to identify
creditors for resolution and any title issues;

' Advising the trustee of any issues and discuss potential resolutions;
' Conducting the resolutions under the trustee’s direction;

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- Assisting the trustee in the collection of documents and information for
employment;

' Making contact with the secured creditor(s);

~ Notifying them of the upcoming sale and identifying servicer
requirements;

' Assisting the trustee in establishing market value and negotiating with the
servicer an acceptable sales price and establishing a carve-out;

° Development of online marketing, email campaign and full nationwide
marketing services;

' Conducting on online sale;

' Use of the technology platform;

' Assist the trustee in the review of all offers and coordinate the final
documentation of the offer accepted by the trustee;

° Managing contract requirements such as inspections, appraisals and
HOA applications;

~ Coordinating closings and assisting the trustee in the collection of
required information for court Hling; and

' Closing the transaction and ensure the estate has received the
appropriate funds.

Local broker services include, but are not limited to:

' lnspecting the property and completing a broker’s price opinion;
~ Listing the property in the multiple listing service (MLS); and
~ Posting a for sale sign in the yard and coordinating showings.

U.S. Bankruptcy Court Districts where BK Global Real Estate Services
conducted Consented Sales:

Eastern District of Arkansas
Central District of California
Eastern District of California
Southern District of California
District of Colorado

District of Connecticut
lVliddle District of Florida
Northem District of Florida
Southern District of Georgia
District of Hawaii

Northem District of ll|inois
Northem District of lndiana
Southern District of lndiana
Western District of Kentucky
Eastern District of Louisiana
Middle District of Louisiana

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Western District of Louisiana
District of Massachusetts
District of Maryland

Eastern District of Nlichigan
Eastern District of North Carolina
District of New Jersey

District of Nevada

Eastern District of New York
Northem District of Ohio
Southern District of Ohio
District of Oregon

Eastern District of Pennsylvania
lVlidd|e District of Pennsylvania
Western District of Pennsylvania
Northem District of Texas
Western District of Texas
Western District of Washington

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